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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                             *               CRIMINAL ACTION
                                                     *
VERSUS                                               *               CASE NO. 98-57
                                                     *
TERRANCE E. WILLIAMS                                 *               SECTION “B”
****************************************************
                      MOTION TO FILE DOCUMENT UNDER SEAL
        NOW INTO COURT, through undersigned counsel comes the defendant herein who
respectfully requests leave of the court to file the attached Response to Government’s Motion for
Reduction of Sentence under seal for the following reason, to wit:
        The attached response contains information that counsel for the defendant and the United
States government believe is not appropriate to place into the public record in this matter.
        WHEREFORE the defendant respectfully requests that attached motion be filed under
seal.
                                                     Respectfully submitted:


                                                     _______/s/ Townsend M. Myers________
                                                     TOWNSEND M. MYERS (#25193)
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                                                     New Orleans, Louisiana 70115
                                                     (504) 571-9529
                                                     townsend@nolacriminallaw.com
                                                     Attorney for Defendant
                                 CERTIFICATE OF SERVICE
        I hereby certify that a copy of the foregoing pleading has been filed electronically and is
available for viewing and downloading from the ECF system. It has been served upon all counsel
of record on this 12th day of October 2021, by electronic means.
        .
                                                     ______/s/_Townsend M. Myers_________
                                                     Townsend M. Myers




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